 

Case 2:20-cr-00015-Z-BR Document 772 Filed 09/11/20; Page @lsisikreetiters>
NORTHERN DISTRICT OF TEXAS
IN THE UNITED STATES DISTRICT|/ COURT FILED

    

 

FOR THE NORTHERN DISTRICT Of TEXAS
AMARILLO DIVISION SEP | | 2000
UNITED STATES OF AMERICA § ROU:
§ CLER , U.S. DISTRICT COURT
Plaintiff, § | Deputy
§ S ceee teat ee ee ee
v. § 2:20-CR-15-Z-BR-(20)
§
RICARDO REYES, JR §
§
Defendant. §

ORDER ADOPTING REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY

On August 26, 2020, the United States Magistrate Judge issued a Report and Recommendation
Concerning Plea of Guilty (“Report and Recommendation”) in the above referenced cause. Defendant
Ricardo Reyes, Jr filed no objections to the Report and Recommendation within the fourteen-day
period set forth in 28 U.S.C. § 636(b)(1). The Court independently examined all relevant matters of
record in the above referenced cause—including the elements of the offense, Factual Resume, Plea
Agreement, and Plea Agreement Supplement—and thereby determined that the Report and
Recommendation is correct. Therefore, the Report and Recommendation is hereby ADOPTED by the
United States District Court. Accordingly, the Court hereby FINDS that the guilty plea of Defendant
Ricardo Reyes, Jr was knowingly and voluntarily entered; ACCEPTS the guilty plea of Defendant
Ricardo Reyes, Jr; and ADJUDGES Defendant Ricardo Reyes, Jr guilty of Count Twenty-Six in
violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C). Sentence will be imposed in accordance with

the Court’s sentencing scheduling order.

SO ORDERED, September II , 2020.

 

MATHEW J. KACSMARYK
TED STATES DISTRICT JUDGE

 
